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September 23, 2020

Via ECF
Hon. Paul G. Gardaphe
40 Foley Square, Courtroom 705
New York, NY 10007

Re:     Yourman v. MTA, et al., 20-CV-779 (PGG) (DCF) (pro se)
        Letter-Motion Regarding Failure to Prosecute

Dear Judge Gardaphe:

I represent Defendants in the above-referenced action and write to follow up on the Court’s
Order dated July 27, 2020 (Dkt. No. 17).

In the July 27, 2020 Order, signed by Judge Freeman, the Court directed Plaintiff to file an
amended complaint no later than August 14, 2020. The Court Clerk mailed the Order to Plaintiff
the same day along with instructions regarding how he, as a pro se party, could file despite
limitations caused by the pandemic (see Dkt. for 07/27/2020). That Order was intended to follow
up on the Court’s prior March 9, 2020 Order (Dkt. No. 5), which directed Plaintiff to file an
amended complaint within 30 days of receiving information regarding John Doe defendants from
the MTA. The MTA filed a document bearing that information on May 6, 2020 (Dkt. No. 10)
and mailed it to Plaintiff on May 20, 2020 (Dkt. Nos. 11-12).1

To my knowledge, Plaintiff has failed to either file or serve any amended complaint since that
time (now 40 days past the deadline), and has made no attempts to contact either myself or the
Court. In light of this, Defendants respectfully request that the Court lay out a briefing schedule
regarding a motion to dismiss this action for failure to prosecute pursuant to Federal Rule of
Civil Procedure 41(b). In the alternative, if the Court believes that full briefing would not help it
decide this motion, Defendants request that the Court inform Defendants that briefing will not be
necessary and simply decide the motion based on the procedural history of the case.

Sincerely,


Jason Douglas Barnes
Assistant Associate Counsel
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 The Affidavit of Service filed May 20 bears a typo stating that it was signed May 6, when in fact it was signed
May 20, the day it was filed.
